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                                                          October 20, 2015
    Via First Class Mail
   The Honorable F. Dennis Saylor IV
   1 Courthouse Way
   Courtroom 2, 3'^'' floor
   Boston, MA 02110

   Re:     Shea v. Porter, et. al.
           Docket 08-CV-12148


   Dear Judge Saylor,

           Reference is made to the Court's Memorandum and Order on Plaintiffs Motion for
   Attorney's Fees and Costs. (Docket 462). I am most respectfully requesting that the court
   consider changing the language in one sentence.

           On page 16, the court wrote:

                   Sinsheimer billed "for a dinner with 'Mears', a party that appears unrelated to the
                   case."


          Richard Meats was plaintiffs expert witness at the time I tried the case. On May 1,
   2013,1 attended a working dinner with Mr. Meats during which time we carefully and
   thoroughly prepared his expert testimony. Mr. Mears testified in open court the next morning.

           Please recall that this was in the midst of trial. Mr. Mears was from the State of Maine
   and (to the best of my current recollection) we had not been able to meet in person prior to May
   1st. 1 believe that Mr. Mears testimony was accurate and succinct, in part the result of our
   mutual hard work the evening before trial. (See transcript May 2, 2013)

          Our little firm takes enormous pride in our use of state of the art time and billing
   software, and our discipline in entering accurate time records contemporaneously.

           No doubt, the time entry "dirmer with Mears" is cryptic at best, but it is most certainly
   accurate and most certainly related to the case.

           I want to be crystal clear that this letter is not a request for additional funds. I am simply
   respectfully requesting the sentence be altered to reflect that Mr. Mears was in fact the expert


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   who testified the very next morning. As it reads now, there is the implication (however slight)
   that our record contains a false entry.

           I am also respectfully requesting that this letter be included in the docket.

           Thank you for your consideration.




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